        Case 1:17-cv-01347-JEJ Document 12 Filed 01/24/18 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

KIMBERLY ZERBE                                :      17CV1347
        Plaintiff                             :      Judge Jones
                                              :
             vs.                              :
                                              :
TRAFFIC CONTROL SERVICES, LLC                 :
         Defendants                           :

                                       ORDER
                                     January 24, 2018

      It has been reported to the court that this action has been settled, IT IS

HEREBY ORDERED THAT this action is dismissed without costs and without

prejudice to the right of either party, upon good cause shown, to reinstate the

action within sixty (60) days if the settlement is not consummated.




                                         s/ John E. Jones III
                                       John E. Jones III
                                       United States District Judge
